                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                          DOCKET NO. 3:15-cv-00350-FDW-DSC
 JAMES FEZZA AND KENNETH MAY,       )
                                    )
      Plaintiffs,                   )
                                    )
 vs.                                )
                                    )                                   ORDER
 XPRESS GROUP INC., GMMJ, INC., and )
 JAMIL NASSER,                      )
                                    )
      Defendants.                   )

       THIS MATTER is before the Court on the Parties’ Joint Motion for Approval of Settlement

Agreement and Entry of an Order Dismissing Action with Prejudice (Docs. No. 17-18). The Court

having considered the Motion, for good cause shown, it is hereby,

       ORDERED that the Motion is GRANTED, and the action is DISMISSED WITH

  PREJUDICE.

       The Clerk of Court is respectfully directed to close the case.

       IT IS SO ORDERED.




                                               Signed: April 5, 2016




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